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                                               PRECEDENTIAL

             UNITED STATES COURT OF APPEALS
                  FOR THE THIRD CIRCUIT
                       ____________

                            No. 23-2535
                            ___________

                       KENNETH HASSON,
      Individually and on behalf of all others similarly situated,
                                     Appellant

                                  v.

                        FULLSTORY, INC.
                          ____________

          On Appeal from the United States District Court
             for the Western District of Pennsylvania
                      (D.C. No. 2-22-cv-01246)
            District Judge: Honorable Marilyn J. Horan
                           ____________

                            No. 23-2573
                            ___________

                       JORDAN SCHNUR,
     Individually and on behalf of all others similarly situated,
                                    Appellant

                                  v.
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    PAPA JOHN’S INTERNATIONAL, INC., d/b/a Papa Johns
                     ____________

         On Appeal from the United States District Court
            for the Western District of Pennsylvania
                    (D.C. No. 2-22-cv-01620)
          District Judge: Honorable J. Nicholas Ranjan
                          ____________

                    Argued on April 18, 2024

    Before: HARDIMAN, PHIPPS, and SMITH, Circuit Judges.

                    (Filed: September 5, 2024)

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                    OPINION OF THE COURT
                   ________________________

   HARDIMAN, Circuit Judge.

           These appeals come to us from the District Courts’
   orders dismissing two class actions for lack of personal
   jurisdiction. In the first case, Kenneth Hasson sued FullStory,
   Inc., claiming that the company unlawfully wiretapped him
   when it deployed a script of computer code—known as Session
   Replay Code—to intercept his online communications. In the
   second case, Jordan Schnur sued Papa John’s International,
   Inc. for its use of FullStory’s Session Replay Code.

                                  I

          We begin by describing the technology at issue.
   FullStory’s Session Replay Code enables companies like Papa
   Johns to collect detailed information about the way visitors



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   interact with its website. The website “delivers” the code “to a
   user’s browser,” which “follow[s] the code’s instructions by
   sending . . . data to a . . . third-party server.” Hasson App. 29.
   The data encompasses “virtually every user action, including
   all mouse movements, clicks, scrolls, zooms, window resizes,
   keystrokes, text entry, and numerous other forms of a user’s
   navigation and interaction through the website.” Id.

           The information is intercepted—without the user’s
   knowledge or consent—the moment he accesses the website.
   And text entries on the website are captured even if the user
   fails “to click . . . ‘submit’ or ‘enter.’” Id. at 30. Users’ internet
   protocol addresses and location information can also be
   identified. Vendors and website operators use the data to
   recreate a user’s entire browsing session on that website.
   FullStory receives and analyzes the harvested data for its
   clients, who use the information to improve website
   functionality and user experience.

          The question presented in both cases is whether the
   deployment of Session Replay Code in Pennsylvania makes
   FullStory and Papa Johns amenable to jurisdiction there. The
   parties agree that the claims implicate only specific, not
   general, jurisdiction. See O’Connor v. Sandy Lane Hotel Co.,
   496 F.3d 312, 317 (3d Cir. 2007) (citing Helicopteros
   Nacionales de Colombia, S.A. v. Hall, 466 U.S. 408, 414–15 &
   n.9 (1984)).

          Specific jurisdiction exists when the “plaintiff’s cause
   of action is related to or arises out of the defendant’s contacts
   with the forum.” Pinker v. Roche Holdings Ltd., 292 F.3d 361,
   368 (3d Cir. 2002) (citation omitted). A district court sitting in
   diversity can exercise personal jurisdiction over an out-of-state
   defendant to the extent permitted by the law of the forum state.



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   Metcalfe v. Renaissance Marine, Inc., 566 F.3d 324, 330 (3d
   Cir. 2009); see also Fed. R. Civ. P. 4(k)(1)(A). Pennsylvania’s
   long-arm statute permits personal jurisdiction “based on the
   most minimum contact with th[e] Commonwealth allowed
   under the Constitution of the United States.” 42 Pa. Cons. Stat.
   § 5322(b).

           The Supreme Court has articulated two tests for specific
   jurisdiction: (1) the “traditional” test—also called the
   “minimum contacts” or purposeful availment test, Burger King
   Corp. v. Rudzewicz, 471 U.S. 462, 474 (1985) (quoting Int’l
   Shoe Co. v. State of Wash., Off. of Unemployment Comp. &
   Placement, 326 U.S. 310, 316 (1945)); and (2) the “effects”
   test, see Calder v. Jones, 465 U.S. 783, 787 & n.6 (1984).

           Under the traditional test, the plaintiff must show that
   the defendant has “minimum contacts” with the forum such
   that it “purposefully avail[ed] itself of the privilege of
   conducting activities within the forum” and “invoke[ed] the
   benefits and protections of [the forum’s] laws.” Toys “R” Us,
   Inc. v. Step Two, S.A., 318 F.3d 446, 451 (3d Cir. 2003)
   (quoting Asahi Metal Indus. Co. v. Superior Court of
   California, 480 U.S. 102, 109 (1987)). Second, the plaintiff’s
   claims must “arise out of or relate to” at least some of those
   contacts, O’Connor, 496 F.3d at 317 (quoting Helicopteros,
   466 U.S. at 414), evidencing “a strong relationship among the
   defendant, the forum, and the litigation,” Hepp v. Facebook,
   14 F.4th 204, 208 (3d Cir. 2021) (internal quotations omitted)
   (citing Ford Motor Co. v. Montana Eighth Jud. Dist. Ct., 592
   U.S. 351, 365 (2021)). Finally, the exercise of jurisdiction over
   the defendant must “comport[] with traditional notions of fair
   play and substantial justice” such that “the defendant ‘should
   reasonably anticipate being haled into court’ in that forum.”
   Toys, 318 F.3d at 451 (quoting World–Wide Volkswagen Corp.


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   v. Woodson, 444 U.S. 286, 297 (1980)).

           Direct in-forum activities are not the only means of
   establishing personal jurisdiction over an out-of-state
   defendant. For example, in Calder v. Jones, the Supreme Court
   confronted tortfeasors who—despite minimal contacts in
   California—intentionally caused harm there. See 465 U.S. 783
   (1984). Though the defendant news editors had few “relevant
   contacts” with California, id. at 786, the Court emphasized that
   the editors “impugned . . . an entertainer . . . centered in
   California[,]” “dr[ew] from California sources, and the brunt
   of the harm . . . was suffered in California” such that
   “California [was] the focal point both of the story and of the
   harm suffered,” id. at 788–89. Thus, the Court held that
   “[j]urisdiction over [the defendants] [was] . . . proper in
   California based on the ‘effects’ of their . . . conduct in
   California.” Id. at 789.

           Courts have applied Calder’s “effects” test to assess
   personal jurisdiction over an intentional tortfeasor whose
   “contacts with the forum . . . otherwise [do] not satisfy the
   requirements of due process” under the traditional test. IMO
   Indus., Inc. v. Kiekert AG, 155 F.3d 254, 265 (3d Cir. 1998). In
   such cases, personal jurisdiction may be proper if the forum is
   the “focus” of the defendant’s tortious conduct. Id. (quoting
   Keeton v. Hustler Mag., Inc., 465 U.S. 770, 780 (1984)).
   Unlike the traditional test, the Calder “effects” test requires a
   plaintiff to plead facts establishing that: (1) the defendant
   committed an intentional tort; (2) the plaintiff felt the brunt of
   the harm in the forum; and (3) the defendant expressly aimed
   his tortious conduct at the forum. See Remick v. Manfredy, 238
   F.3d 248, 258 (3d Cir. 2001).

                                   A



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          In the first appeal, Hasson alleged that FullStory’s use
   of Session Replay Code violated Pennsylvania’s Wiretapping
   and Electronic Surveillance Control Act (“WESCA”), 18 Pa.
   Cons. Stat. § 5701, et seq., and invaded his privacy in violation
   of the common law. Hasson alleged that while he browsed
   Mattress Firm’s website, FullStory’s Session Replay Code
   “instantaneously captured his [w]ebsite [c]ommunications”
   “without his consent,” including “information about his device,
   browser, and geolocation,” while also “creat[ing] a unique ID
   and profile for him.” Hasson App. 40. He claims the code
   allowed      FullStory       to     collect    “his     personal
   information . . . including name, address, email address, and
   payment information.” Hasson App. 44.

           FullStory moved to dismiss Hasson’s complaint under
   Rule 12(b)(2) of the Federal Rules of Civil Procedure for lack
   of personal jurisdiction because, although Hasson is a resident
   of Pennsylvania, FullStory is a Delaware corporation with its
   principal place of business in Georgia. Hasson opposed the
   motion and sought jurisdictional discovery to determine
   whether FullStory had sufficient contacts with Pennsylvania to
   satisfy the requirements of personal jurisdiction.

           The District Court denied Hasson’s motion for
   jurisdictional discovery and granted FullStory’s motion to
   dismiss. It concluded that Hasson failed to satisfy the “effects”
   test for specific personal jurisdiction under Calder because he
   “pled insufficient facts to demonstrate that FullStory expressly
   aimed its conduct at Pennsylvania through the Mattress Firm
   website.” Hasson v. FullStory, Inc., 2023 WL 4745961, at *2
   (W.D. Pa. July 25, 2023). Hasson filed this timely appeal
   asking us to reverse the District Court’s order or, in the
   alternative, to vacate and remand with instructions to order
   jurisdictional discovery.


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                                  B

           In the second appeal, Schnur, a Pennsylvania resident,
   filed a class action against Papa Johns, a Delaware corporation
   with its principal place of business in Georgia. Schnur filed
   wiretapping and invasion of privacy claims like those Hasson
   brought against FullStory. Unlike Hasson, who sued the
   company that produced the code that attached to his browser,
   Schnur sued the company operating the website that deployed
   the code onto his browser.

          Papa Johns maintains “approximately 85 brick-and-
   mortar locations in Pennsylvania” and “regularly markets and
   advertises its goods and services within Pennsylvania.” Schnur
   App. 29 (footnote omitted). Schnur alleged that, while in
   Pennsylvania, he visited Papa Johns’ website on his computer
   to order food. In doing so, he “communicated with Papa John’s
   by entering a delivery address[,] . . . searching for a nearby
   carryout location in Pennsylvania[,]” and selecting “what type
   of pizza he wanted to order.” Schnur App. 43.

           Papa Johns moved to dismiss for lack of personal
   jurisdiction. The District Court granted the motion, finding that
   because Papa Johns’ website was “generally available to
   everyone, no matter where they are located,” Schnur failed to
   allege that the company expressly aimed Session Replay Code
   at Pennsylvania. Schnur v. Papa John’s Int’l, Inc., 2023 WL
   5529775, at *3 (W.D. Pa. Aug. 28, 2023). The District Court
   also held that Schnur’s complaint failed to establish specific
   personal jurisdiction under the “traditional” test because
   Schnur’s wiretapping claims did not arise out of or relate to
   Papa Johns’ marketing and sale of pizza in Pennsylvania.

          Hasson and Schnur filed timely appeals and we joined



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   the cases for argument and disposition. 1

                                   II

           We turn first to Schnur’s claims against Papa Johns.
   Schnur argues the District Court erred when it dismissed for
   lack of jurisdiction under the Calder “effects” test without first
   considering whether jurisdiction was proper under the
   traditional purposeful availment test. He contends jurisdiction
   is proper under the “effects” test or, alternatively, under the
   traditional test—which he views as the appropriate test given
   Papa Johns’ extensive business contacts in Pennsylvania.
   Stated simply, Schnur argues that the Calder test cannot be
   invoked to deny personal jurisdiction over a suit that otherwise
   satisfies the traditional test.

          The District Court held that Schnur’s allegations could
   not satisfy Calder because Papa Johns did not expressly aim
   Session Replay Code at Pennsylvania and Schnur did not suffer
   the brunt of his alleged harm in Pennsylvania. See Schnur,
   2023 WL 5529775, at *2–3. Schnur counters that the District



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     The District Courts had subject matter jurisdiction over
   Hasson’s and Schnur’s claims under 28 U.S.C. § 1332(d)(2).
   We review de novo the orders dismissing for lack of personal
   jurisdiction. See O’Connor, 496 F.3d at 316. Where, as here,
   the District Courts did not hold evidentiary hearings on
   personal jurisdiction, we take the Plaintiffs’ factual allegations
   as true. See Miller Yacht Sales, Inc. v. Smith, 384 F.3d 93, 97
   (3d Cir. 2004) (citation omitted).




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    Court erred because the traditional test is the proper
    jurisdictional standard while Calder is “typically invoked
    where,” unlike here, “the conduct . . . form[ing] the basis for
    the controversy occurs entirely out-of-forum.” Schnur Br. 47
    (citation omitted). Because Papa Johns has extensive business
    contacts in Pennsylvania and deployed Session Replay Code
    into the forum, Schnur contends that the District Court should
    have applied the traditional test first. Under that test, Schnur
    argues, jurisdiction is proper because Papa Johns purposefully
    availed itself of the privilege of doing business in Pennsylvania
    and Schnur’s wiretapping claims arise out of the company’s
    contacts there.

            In sum, Schnur contends that courts need not apply the
    “effects” test to all intentional tort claims and, even if the
    District Court did so, personal jurisdiction still lies here
    because Calder’s “effects” test is more plaintiff-friendly than
    the traditional test. Papa Johns counters that courts must apply
    the “effects” test to intentional tort claims, and that the District
    Court correctly held that Schnur could not satisfy Calder’s
    express aiming prong. We agree that Schnur’s allegations do
    not satisfy the requirements for personal jurisdiction under
    Calder.

           While the “effects” test and the traditional test “are cut
    from the same cloth,” they have distinct requirements. Marten
    v. Godwin, 499 F.3d 290, 297 (3d Cir. 2007). As we explained:

           [T]he effects test . . . require[s] that the tortious actions
           of the defendant have a forum-directed purpose[—a
           requirement that] is not applicable in the more
           traditional specific jurisdiction analysis. . . . Unlike
           th[e] express requirement in the effects test, the
           traditional specific jurisdiction analysis simply requires



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           that the plaintiff’s claims arise out of or relate to the
           defendant’s forum contacts. We do not agree with the
           argument that this traditional requirement is the
           equivalent of the more demanding relatedness
           requirement of the effects test.

    Miller Yacht Sales, Inc. v. Smith, 384 F.3d 93, 99 (3d Cir. 2004)
    (emphasis added) (cleaned up).

           Schnur incorrectly asserts that the “effects” test imposes
    a universally lower jurisdictional hurdle. As Miller Yacht
    demonstrates, it requires plaintiffs to show that the defendant
    “sufficiently directed his tortious conduct at the state,” id.—a
    burden that differs in key respects from the traditional test.
    Because specific jurisdiction is “claim specific,” Remick, 238
    F.3d at 255, it is not uncommon for a court to dismiss
    intentional tort claims for want of jurisdiction under the
    “effects” test while finding jurisdiction proper as to other
    claims under the traditional test. See, e.g., id. at 256‒57, 260.
    In sum, the “effects” test may be more lenient in some respects
    and stricter in others, depending on the facts and claims at
    issue.

            That said, we are skeptical of Defendants’ assertion that
    our precedents require courts to apply Calder’s “effects” test
    exclusively to intentional tort claims. As Plaintiffs note, the
    Supreme Court applied a traditional jurisdictional analysis in
    Keeton v. Hustler Magazine, Inc., which concerned libel
    claims. 465 U.S. 770, 772–81 (1984). The Keeton Court noted
    that the defendant had “circulate[ed] magazines throughout the
    state” and transacted “regular monthly sales of thousands of
    magazines” there. Id. at 774. The Court applied a traditional
    “minimum contacts” analysis and concluded that jurisdiction
    was proper in New Hampshire because plaintiffs’ claims were



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    “based on” the magazine’s sales and subscriptions in the state.
    Id.

           Indeed, while we have often applied the Calder
    framework in assessing personal jurisdiction over intentional
    tortfeasors, we have stressed that “Calder [did not] carve out a
    special intentional torts exception to the traditional specific
    jurisdiction analysis.” IMO Indus., 155 F.3d at 265. And as
    Plaintiffs accurately note, the “effects” test has often been
    applied where the alleged tortfeasor has de minimis contacts
    with the forum, see Marten, 499 F.3d at 297, or where the
    tortious conduct occurs primarily “outside the forum” but has
    an “effect . . . within the forum,” IMO Indus., 155 F.3d at 261.
    In any case, we agree with the District Court that Schnur’s
    complaint fails under both tests.

                                    A

           The District Court held that Schnur did not satisfy
    Calder’s “effects” test because he did not allege that Papa
    Johns expressly aimed Session Replay Code at Pennsylvania.
    We agree. Schnur alleged that Papa Johns “knowingly armed
    [its] website with software that initiates a broad-spectrum
    wiretap” and that this conduct “led to [his] lawsuit being filed.”
    Dist. Ct. Dkt. No. 31, at 10. But Schnur did not allege that Papa
    Johns’ website is accessible only in Pennsylvania, that the
    company deploys Session Replay Code only to users who
    access the site while in Pennsylvania, or that the website tailors
    its content in any meaningful way to Pennsylvanians. Rather,
    Schnur admits that Papa Johns targets a “national audience”
    “to drive customers to its website.” Schnur App. 39. And we,
    like several sister courts, have held that a defendant does not
    expressly target a forum merely by operating a website that is
    accessible there—even when the plaintiff alleges harm in that



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    forum arising out of his engagement with that website.

            For instance, in Remick, a Pennsylvania plaintiff
    asserted intentional tort claims against an out-of-state website
    operator for posting a photo of the plaintiff on the site without
    permission. See 238 F.3d at 259. We reasoned that the “effects
    test’ [was] clearly not satisfied” because “the website was
    intended to provide information on [the defendant] and . . . was
    accessible worldwide.” Id. So “there [was] no basis to conclude
    that the defendants expressly aimed their allegedly tortious
    activity at Pennsylvania knowing that harm was likely to be
    caused there.” Id. Our reasoning in Remick applies to Schnur’s
    claims here.

            By contrast, courts have found express aiming where,
    unlike here, the website is “targeted at a particular
    jurisdiction.” Toys, 318 F.3d at 452 (cleaned up). Such
    targeting can be evidenced by content bearing a particular
    nexus to that forum or location-specific advertisements. See
    Advanced Tactical Ordnance Sys., LLC v. Real Action
    Paintball, Inc., 751 F.3d 796, 803 (7th Cir. 2014); Shrader v.
    Biddinger, 633 F.3d 1235, 1241 (10th Cir. 2011). For example,
    in Mavrix Photo, Inc. v. Brand Techs., Inc., the Ninth Circuit
    held that California had specific jurisdiction over a Florida-
    based celebrity photo website that had “specific[ally] focus[ed]
    on the California-centered celebrity and entertainment
    industries” and featured photos of Californians. 647 F.3d 1218,
    1230 (9th Cir. 2011). The Ninth Circuit took a contrary view
    in a copyright infringement case brought by a California
    plaintiff against a foreign pornography website. See AMA
    Multimedia, LLC v. Wanat, 970 F.3d 1201 (9th Cir. 2020). The
    court contrasted the California-centric content in Mavrix with
    the pornography website, determining that the latter “lack[ed]
    a forum-specific focus” because “the market for adult content


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    is global.” Id. at 1210 (cleaned up).

             The distinctions made by the Ninth Circuit in these
    cases support the District Court’s dismissal order here. Schnur
    neither alleged that Papa Johns’ website advertises a product
    or service bearing any special significance to Pennsylvania, nor
    that it features Pennsylvania-centric content. Indeed, pizza has
    national appeal. 2 So Papa Johns did not expressly aim its
    Session Replay Code at Pennsylvania by operating a website
    that was accessible in the forum.

            Our conclusion is not undercut simply because, as
    Schnur alleges, Papa Johns: (1) deployed Session Replay Code
    into the forum and harmed Pennsylvanians there; (2) allows
    website users to filter restaurant locations geographically; and
    (3) operates 85 restaurants and conducts other business
    activities in the Commonwealth.

           First, we assume, as Schnur claims, that the alleged
    wiretapping occurred on browsers in Pennsylvania. Cf. Popa v.
    Harriet Carter Gifts, Inc., 52 F.4th 121, 131–32 (3d Cir. 2022).
    And we have held “the exercise of personal jurisdiction over a
    nonresident” for “an allegedly tortious act committed within
    the forum . . . conforms with due process.” Carteret Sav. Bank,
    FA v. Shushan, 954 F.2d 141, 148 (3d Cir. 1992). But while


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      Pizza “is recognized as a high consumption food . . . of public
    significance in the American diet” with “13% of the U.S.
    population . . . consum[ing] pizza on any given day.” Donna
    G. Rhodes et al., Dietary Data Brief No. 11—Consumption of
    Pizza, Nat’l Library of Med. (2014), https://perma.cc/R5F7-
    MBPZ.



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    Schnur argues “Papa Johns purposefully entered Pennsylvania
    and knowingly wiretapped its customers there,” he did not
    allege that the transmission of Session Replay Code onto his
    browser constituted a physical entry into the forum. Reply Br.
    13. Even if he had, “intentional torts . . . committed via the
    Internet or other electronic means” “present . . . . very different
    questions [of] whether and how a defendant’s virtual
    ‘presence’ and conduct translate into ‘contacts’ with a
    particular State.” Walden v. Fiore, 571 U.S. 277, 290 n.9
    (2014). So we decline to hold that Papa Johns’ use of Session
    Replay Code constitutes a physical entry into Pennsylvania
    sufficient to support the exercise of jurisdiction.

            We also reject the argument that Papa Johns expressly
    targeted Pennsylvania simply because the data interception
    allegedly occurred in the forum. “[T]he effects test prevents a
    defendant from being haled into a jurisdiction solely because
    the defendant intentionally caused harm that was felt in the
    forum state if the defendant did not expressly aim [its] conduct
    at that state.” Marten, 499 F.3d at 297 (emphasis added). And
    we are not persuaded that transmitting computer code to a
    browser that happens to be in Pennsylvania is an intentional
    physical entry into the forum sufficient to establish express
    aiming under Calder. Cf. Carefirst of Maryland, Inc. v.
    Carefirst Pregnancy Ctrs., Inc., 334 F.3d 390, 401 (4th Cir.
    2003) (Defendant “did not . . . direct electronic activity into
    [the forum] with the manifest intent of engaging in business or
    other interactions within that state in particular” by “set[ting]
    up its generally accessible, semi-interactive Internet website.”)
    (emphasis added).

          At a minimum, Schnur had to allege that Papa Johns
    knew that a given user was in Pennsylvania before it sent the
    code to that user’s browser. See Rosenthal v.


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    Bloomingdales.com, LLC, 101 F.4th 90, 98 (1st Cir. 2024). The
    First Circuit recently held that Massachusetts did not have
    personal jurisdiction over an out-of-state department store
    chain for similar wiretapping claims. Though the court did not
    analyze the plaintiff’s allegations under Calder, it concluded
    that specific jurisdiction was not proper because, inter alia, the
    plaintiff failed to prove that “Bloomingdales purposefully
    deployed [Session Replay Code] to intentionally target users in
    Massachusetts” or that “Bloomingdales knew that it was
    targeting [the plaintiff] in Massachusetts” at the time of the
    alleged wiretapping. Id. at 97 (cleaned up). We conclude that
    Schnur’s allegations fail to satisfy Calder’s express aiming
    prong for similar reasons. Schnur did not allege that Papa Johns
    knows that a given user is in Pennsylvania before the code is
    dispatched to his browser or that Papa Johns specifically sends
    the code because the user is located in Pennsylvania. Rather,
    Schnur alleged that Session Replay Code was sent to his
    browser the instant he accessed Papa Johns’ website. He did
    not allege that Papa Johns knew that he was in Pennsylvania
    and subsequently deployed the code based on that knowledge.

            And while Schnur asserts that Papa Johns’ collection of
    users’ geolocation data shows that the company
    “inevitab[ly] . . . knows it is capturing . . . the [w]ebsite
    [c]ommunications of Pennsylvania residents,” Schnur App. 42,
    “ultimately learn[ing]” of the Plaintiffs’ location after the fact
    does not, in this case, satisfy the “effects” test’s “intentionality
    requirement,” Toys, 318 F.3d at 454–55 nn. 5, 6. Because
    “Calder requires more,” a “defendant accused of an intentional
    tort” is not “subject to personal jurisdiction in the plaintiff’s
    home state as soon as the defendant learns what that state is.”
    Mobile Anesthesiologists Chicago, LLC v. Anesthesia Assocs.
    of Houston Metroplex, P.A., 623 F.3d 440, 447 (7th Cir. 2010).



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            Furthermore, Papa Johns did not expressly aim Session
    Replay Code at Pennsylvania simply by permitting web users
    to search for nearby restaurants. Schnur did not allege that this
    feature is “exclusively available to people in [Pennsylvania]”
    or that Session Replay Code is deployed only to users who
    search for Pennsylvania locations. Bryan v. United States, 2017
    WL 781244, at *10 (D.V.I. Feb. 28, 2017), aff’d, 913 F.3d 356
    (3d Cir. 2019). Nor did he allege that users who filter for
    Pennsylvania locations receive uniquely forum-centric
    content. See Mavrix, 647 F.3d at 1230. So Papa Johns’ “Find
    Your Store” filter does not constitute express aiming at
    Pennsylvania. Cf. Fidrych v. Marriott Int’l, Inc., 952 F.3d 124,
    143 (4th Cir. 2020) (website’s state “drop-down menu[] d[id]
    not[] . . . strengthen [defendant’s] jurisdictionally relevant
    connections”); NexLearn, LLC v. Allen Interactions, Inc., 859
    F.3d 1371, 1378 (Fed. Cir. 2017) (same).

            Finally, Papa Johns’ in-forum business activities,
    including its operation of 85 restaurants, do not establish that
    the company expressly aimed its Session Replay Code at
    Pennsylvania. “[T]he Calder ‘effects test’ can only be satisfied
    if the plaintiff can point to contacts which demonstrate that the
    defendant expressly aimed its tortious conduct at the forum,
    and thereby made the forum the focal point of the tortious
    activity.” IMO Indus., 155 F.3d at 265 (emphasis added). As
    Schnur admits, Session Replay Code would have wiretapped
    him regardless of whether he purchased pizza via the website,
    so Papa Johns’ other commercial activities do not demonstrate
    express aiming under Calder. For example, in Wanat, the
    Ninth Circuit held that a website operator’s “other contacts
    with the [forum],” including service contracts with in-forum
    users, “fail[ed] to establish express aiming” because the
    plaintiff’s suit “d[id] not allege violations of the” contracts.



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    970 F.3d at 1212. Simply stated, Papa Johns’ other in-forum
    commercial activities—operating restaurants and selling
    pizza—do not show that it expressly aimed Session Replay
    Code at Pennsylvania.

            For all these reasons, the District Court did not err when
    it held that Schnur failed to plead facts sufficient to render Papa
    Johns amenable to personal jurisdiction in Pennsylvania under
    the Calder “effects” test. 3

                                    B

            Schnur also contends that jurisdiction over Papa Johns
    is proper under the traditional test as articulated in Ford Motor.
    That test requires Schnur to show that Papa Johns
    “purposefully avail[ed] itself of the privilege of conducting
    activities” in Pennsylvania and that his claims “arise out of or
    relate to the defendant’s contacts with the forum.” Ford Motor,
    592 U.S. at 359 (cleaned up). There is no doubt that Papa Johns
    purposefully availed itself of the Pennsylvania market. As
    Schnur alleged, Papa Johns “maintains approximately 85
    brick-and-mortar locations in Pennsylvania and regularly
    markets and advertises its goods and services within
    Pennsylvania.” Schnur App. 29. It also regularly “conducts
    business with [Pennsylvania] residents” to sell pizza and other
    products “via [its] [web]site.” Toys, 318 F.3d at 452.

           But Schnur’s complaint founders at step two, which


    3
      Because we conclude that Schnur failed to satisfy Calder’s
    “express aiming” prong, we need not address whether Schnur
    adequately pled that he suffered the brunt of the alleged harm
    in Pennsylvania. See Marten, 499 F.3d at 297.


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    requires a “strong relationship among the defendant, the forum,
    and the litigation.” Hepp, 14 F.4th at 208 (citing Ford Motor,
    592 U.S. at 364). As the District Court held, Schnur’s
    complaint lacks “a specific connection between Pennsylvania,
    Papa Johns, and the deployment of Session Replay Code on
    [Papa Johns’] website.” Schnur, 2023 WL 5529775, at *5.

             To be sure, whether Schnur’s claims “arise out of or
    relate to” Papa Johns’ activities in Pennsylvania is a close call.
    Ford Motor, 592 U.S. at 359 (citation omitted). As the
    Supreme Court recently clarified, while “[t]he first half of that
    standard        asks     about       causation . . . the    back
    half . . . contemplates that some relationships will support
    jurisdiction without a causal showing.” Id. at 362. And “[t]he
    degree of relatedness required in a given case is inversely
    proportional to the overall intensity of the defendant’s forum
    contacts.” O’Connor, 496 F.3d at 320 (cleaned up). At first
    glance, this would seem to tip the jurisdictional scales in
    Schnur’s favor given Papa Johns’ considerable contacts in
    Pennsylvania. But when we scrutinize those contacts in the
    context of Schnur’s wiretapping claims, we conclude that the
    “connection is too weak.” Hepp, 14 F.4th at 208.

            Consider Ford Motor. In that case, Montana and
    Minnesota residents sued Ford in their respective states,
    alleging that defective Ford parts injured them. 592 U.S. at
    356. Ford argued that the plaintiffs’ claims did not arise out of
    or relate to Ford’s contacts in those states because Ford had not
    designed, manufactured, or sold the defective vehicles in either
    state. Id. The Supreme Court disagreed, noting that “Ford had
    advertised, sold, and serviced those two car models in both
    States for many years” and “systematically served a market in
    [those states] for the very vehicles that the plaintiffs allege[d]
    malfunctioned and injured them in those States.” Id. at 365.


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            Those facts demonstrated the “strong relationship
    among the defendant, the forum, and the litigation” required
    for the state courts to exercise jurisdiction. Id. (cleaned up).
    The defendant, the forum, and the plaintiffs’ claims all shared
    a common link: defective Ford Explorers and Crown Victorias.
    As the Court stressed, Ford had, “at all relevant times,” sold,
    advertised, and serviced those models in Montana and
    Minnesota, the plaintiffs were injured by those models in those
    states, and the lawsuits arose out of the injuries caused by those
    models. Id. at 365.

            In Schnur’s case, Papa Johns’ website is analogous to
    the defective vehicles in Ford Motor, and Session Replay Code
    is like the defective parts contained within those vehicles. And
    although Schnur alleged Papa Johns “heavily markets its
    online ordering platform in order to drive customers to its
    website,” which “is a central focus point of [its] business
    model,” Schnur App. 39, he did not allege any facts regarding
    the company’s promotion of its website in Pennsylvania. Cf.
    Johnson v. TheHuffingtonPost.com, Inc., 21 F.4th 314, 321
    (5th Cir. 2021) (no jurisdiction over New York website in
    Texas because plaintiffs failed to show that the defendant
    “reached beyond the site to attract Texans to it” or “solicited
    Texan visits”) (emphasis added).

           Schnur notes that Papa Johns aired a commercial during
    a Philadelphia Eagles’ Super Bowl game, but he did not allege
    that Papa Johns’ website was promoted or featured in the
    commercial. So unlike the plaintiffs in Ford Motor, Schnur’s
    complaint lacks a “strong relationship” between Pennsylvania
    and Papa Johns’ use of Session Replay Code. Ford Motor, 592
    U.S. at 365 (cleaned up).

           Furthermore, even if Papa Johns’ website allows



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    visitors to order food “from nearby stores[,] . . . including in
    Pennsylvania,” Schnur App. 39, we are not persuaded that the
    website’s accessibility in Pennsylvania establishes the strong
    connection between the forum and the litigation that Due
    Process requires, especially given the unique “doctrinal
    questions” that “internet transactions” raise. Ford Motor, 592
    U.S. at 366 n.4. While the Ford Motor Court noted that the
    defective vehicle models were “available for sale” in Montana
    and Minnesota, it also emphasized Ford’s extensive marketing
    of those models in the two states through “billboards, TV and
    radio spots, print ads, and direct mail” and its efforts to
    maintain, service, and repair those models in those states. Id.
    at 365. Here, while Schnur details Papa Johns’ promotion of its
    products in Pennsylvania, he did not, as the Ford Motor
    plaintiffs did, allege facts regarding Papa Johns’ in-forum
    promotion of the device that allegedly harmed him—the
    website. 4

            We do not hold, as the dissent suggests, that personal
    jurisdiction lies only where the out-of-state defendant’s forum
    activities closely resemble Ford Motor’s. See Dissent 4. But
    because the traditional test’s “relate to” requirement
    “incorporates real limits,” Schnur must offer facts regarding


    4
      Our dissenting colleague suggests that our holding hinges on
    the fact that Papa Johns has not advertised its website in
    Pennsylvania “to the same extent” that Ford advertised its
    vehicles in the forum states. Dissent 4. Not so. We simply note
    an important distinction between the two cases. While Ford
    Motor held that Ford’s extensive promotion of the harm-
    causing vehicles in the fora strengthened the connection among
    the defendant, the fora, and the litigation, Schnur does not
    allege that Papa Johns promoted its website in Pennsylvania.


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    Papa Johns’ efforts to specifically direct or connect
    Pennsylvanians to the alleged harm. Ford Motor, 592 U.S. at
    362. And while the dissent correctly notes that the Supreme
    Court found jurisdiction proper over Ford Motor even though
    “Ford did not introduce the defective vehicles into the forum
    states[] and the claims related to actions that Ford took outside
    of the forum states,” Dissent 4, it overlooks the lengths the
    Court went to emphasize the many ways in which Ford
    promoted, serviced, and marketed the defective vehicle models
    in the fora. See id. at 365.

              Our decision in Hepp is instructive as well. In that case,
    although a defendant had “targeted [its] advertising business to
    Pennsylvania” and sold merchandise to Pennsylvanians via its
    online store, we emphasized that “none of th[o]se contacts
    form[ed] a strong connection to [plaintiff’s] misappropriation
    of . . . likeness” claim. 14 F.4th at 208. We emphasized that the
    plaintiff “did not allege [that] the merchandise featured her
    photo,” or that the defendant “used her likeness to sell
    advertising.” Id. Likewise here, we conclude that Papa Johns’
    in-state restaurant sales and marketing activities, as alleged in
    the complaint, are insufficiently related to Schnur’s
    wiretapping claims. In sum, we hold that Schnur’s complaint
    also fails under the traditional test. 5



    5
     We reject Schnur’s assertion that Herbal Brands, Inc. v.
    Photoplaza, Inc. compels us to reverse. See 72 F.4th 1085 (9th
    Cir. 2023), cert. denied, 144 S. Ct. 693 (2024). There, the Ninth
    Circuit held that Calder’s express aiming prong is satisfied “if




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                                    III

           We turn next to the District Court’s order dismissing
    Hasson’s claims against FullStory and its order denying
    Hasson’s motion for jurisdictional discovery. We begin by
    noting that FullStory has fewer contacts with Pennsylvania
    than Papa Johns. FullStory is a Georgia software company with
    no Pennsylvania offices or employees. FullStory did, however,
    produce the Session Replay Code that allegedly wiretapped
    Hasson in Pennsylvania and received the data collected from
    his browsing session.

            Hasson argues that Pennsylvania has specific personal
    jurisdiction over his wiretapping claims for several reasons. He
    notes that FullStory partnered with Pennsylvania companies
    whose websites are accessible there and other website


    a defendant, in its regular course of business, sells a physical
    product via an interactive website and causes that product to be
    delivered to the forum.” Id. at 1093. We have not held that
    simply fulfilling an online sale and causing a product to be
    delivered in a forum suffices for personal jurisdiction. See id.
    at 1097 (noting the Third Circuit has “reached [a] different
    conclusion[] regarding whether sales to a plaintiff or its agents
    can be a source of jurisdiction”). In any event, Schnur’s case is
    distinguishable from Herbal Brands. There, Arizona plaintiffs
    sued the defendant for selling unauthorized products in that
    state via the internet. See id. at 1088–97. The court concluded
    that “Plaintiff’s claims . . . clearly ar[o]se out of and relate[d]
    to Defendants’ conduct of selling . . . products to Arizona
    residents.” Id. at 1096. But here, Schnur’s wiretapping claims
    neither involve a “physical” product nor arise out of (or relate
    to) Papa Johns’ brick-and-mortar operations in Pennsylvania.


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    operators who do business in the Commonwealth (like
    Mattress Firm). He also emphasizes that FullStory received
    communications intercepted from Pennsylvanians while they
    were         in    Pennsylvania     and     “commercializ[ed]”
    Pennsylvanians’ “geographical . . . data” by “sending
    [it] . . . to website operators in an analytically useful way.”
    Hasson Reply Br. 15. Hasson also argues that, because
    FullStory received users’ geolocation data, the company
    knows it is collecting communications from Pennsylvanians.
    He contends that all these contacts support the exercise of
    personal jurisdiction over FullStory under either the Calder
    test or the Ford Motor framework.

                                   A

           Starting with the Calder test, we agree with the District
    Court that FullStory did not expressly aim its allegedly tortious
    conduct at Pennsylvania. Hasson did not allege that Mattress
    Firm “intentionally targets [its] site to” Pennsylvania with
    forum-centric themes or ads. Toys, 318 F.3d at 452. And even
    had he done so, Hasson did not allege that FullStory knew
    about—or helped produce—any such forum-centric content.
    Indeed, if a retailer does not expressly target Pennsylvania
    merely by operating a website that is accessible there, neither
    does a software company simply by providing code for that
    website. Cf. Carefirst, 334 F.3d at 402 (no specific jurisdiction
    over Illinois company in Maryland “merely” because the
    company “utiliz[ed] servers owned by a Maryland-based
    company”). In short, FullStory did not expressly aim at
    Pennsylvania simply by providing code and other services to a
    Texas company whose website is accessible in the forum. See
    Remick, 238 F.3d at 259.

           Nor are we persuaded that FullStory aimed its alleged



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    wiretapping at Pennsylvania just because it knew that Mattress
    Firm—or any other company it partnered with—conducted
    business in the forum or made its website accessible there. We
    have rejected the argument that “the ‘expressly aiming’
    requirement is satisfied when the defendant is alleged to have
    engaged in wrongful conduct targeted at a plaintiff whom the
    defendant knows to be a resident of the forum state.” Budget
    Blinds, Inc. v. White, 536 F.3d 244, 264 (3d Cir. 2008) (cleaned
    up). Indeed, while a defendant’s “knowledge that the plaintiff
    is located in the forum is necessary to the application of
    Calder,” that “alone is insufficient to satisfy the targeting
    prong of the effects test.” IMO Indus., 155 F.3d at 266.

            So Hasson had to do more than allege that FullStory
    “harmed him while he happened to be residing in
    Pennsylvania.” Marten, 499 F.3d at 299. He had to plead that
    FullStory “knew that . . . [he] would suffer the brunt of the
    harm caused by the tortious conduct in the forum.” Id. at 298
    (emphasis added). But Hasson’s “allegations and
    evidence . . . do not affirmatively prove that [FullStory] knew
    that it was targeting him in” Pennsylvania when the code was
    dispatched to his browser. Rosenthal, 101 F.4th at 97. Hasson
    did not allege that FullStory knew that he—or any other user—
    was in Pennsylvania before Session Replay Code was
    dispatched to his browser. Compared to Papa Johns and
    Mattress Firm, FullStory is a degree removed from the alleged
    harm, as Mattress Firm’s website was responsible for
    “deliver[ing] session replay-enabling code to a user’s
    browser,” not FullStory. Hasson App. 29. Session Replay Code
    was sent to Hasson’s browser because of Mattress Firm’s
    decision to host the code on its website and Hasson’s decision
    to access the website while in Pennsylvania. But “jurisdiction
    over an out-of-state intentional tortfeasor must be based on



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    intentional conduct by the defendant that creates the necessary
    contacts with the forum,” not the “unilateral activity of a
    plaintiff,” Walden, 571 U.S. at 286 (emphasis added) (cleaned
    up), or a “third person,” Helicopteros, 466 U.S. at 417. We
    therefore conclude that the chain of events preceding Session
    Replay Code’s transmission to Hasson’s browser was too
    attenuated to satisfy that requirement.

           We also reject that FullStory expressly aimed Session
    Replay Code at Pennsylvania simply because it knew, based
    on its collection of geolocation data, that the code was
    intercepting data from users there. As discussed above, a
    defendant’s post hoc discovery that the tortious conduct was
    received in the forum, without more, does not establish that the
    company “targeted (or “expressly aimed” [its] conduct at) the
    forum.” IMO Indus., 155 F.3d at 263; see Mobile
    Anesthesiologists, 623 F.3d at 447.

          For these reasons, we agree with the District Court that
    Hasson’s complaint fails to establish that FullStory expressly
    aimed its alleged wiretapping at Pennsylvania. So we need not
    address whether the complaint satisfies Calder’s other prongs.
    See Marten, 499 F.3d at 297.

                                   B

           The District Court applied the Calder framework
    because Hasson alleged intentional torts. See Hasson, 2023
    WL 4745961, at *2. But as Hasson persuasively argues, the
    “effects” test typically applies where the allegedly tortious
    conduct occurs outside the forum but is felt inside the forum.
    Here, by contrast, FullStory’s Session Replay Code allegedly
    wiretapped Hasson in Pennsylvania. Though we agree with its
    application of Calder, the District Court also should have



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    considered whether specific personal jurisdiction was proper
    under the traditional test as applied in Ford Motor. And while
    FullStory’s contacts with “other Pennsylvania clients who may
    be using [its] software” may be “irrelevant to establish[ing]
    specific jurisdiction” under Calder’s “express aiming” rubric,
    Hasson, 2023 WL 4745961, at *2, it is possible that Hasson’s
    claims “relate to” such contacts under the traditional test, Ford
    Motor, 592 U.S. at 362 (cleaned up).

            As we noted above, in Ford Motor the Supreme Court
    emphasized that Ford had extensively advertised, sold, and
    serviced Explorers and Crown Victorias in the forum states.
    See id. at 355. Although those activities had no direct link to
    the specific vehicles that injured the plaintiffs, the Court held
    that those contacts still “relate[d] to” the plaintiffs’ claims
    because they involved the vehicle models that injured the
    plaintiffs. See id. at 361–66.

            But rather than decide whether Hasson’s complaint
    alleges sufficient contacts to support jurisdiction under the
    traditional test, we will vacate and remand for the District
    Court to make this determination. 6 See Penguin Grp. (USA)


    6
      We reject FullStory’s contention that Hasson waived or
    forfeited his argument that the District Court should have
    applied the traditional test if it found jurisdiction lacking under
    Calder. Though Hasson noted in his opposition brief that the
    Supreme Court has articulated “an ‘effects test’” “[f]or specific
    jurisdiction in tort cases,” he did not argue that courts must
    apply only this test. Dist. Ct. Dkt. No. 34, at 5. Rather, he




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    Inc. v. Am. Buddha, 640 F.3d 497, 501 (2d Cir. 2011). In doing
    so, the District Court may consider whether FullStory’s other
    forum contacts—besides those related to Mattress Firm—alter
    its conclusion that litigating in the Western District of
    Pennsylvania “would place an undue burden upon FullStory”
    such that “[t]he interests of justice would not be served if
    FullStory were required to defend itself against this lawsuit in
    Pennsylvania.” Hasson, 2023 WL 4745961, at *3.

                            *      *       *

            For the foregoing reasons, we will affirm the District
    Court’s order dismissing the case for lack of personal
    jurisdiction in Schnur v. Papa John’s Int’l, Inc., Appeal No.
    23-2573. But we will vacate the order dismissing the case for
    lack of personal jurisdiction in Hasson v. FullStory, Inc.,
    Appeal No. 23-2535, and remand for the District Court to
    apply the traditional test in accordance with Ford Motor. 7




    argued that “jurisdiction is also proper under the traditional
    purposeful availment test.” Id. at 7 (typeface altered and
    capitalizations removed).
    7
      Because our decision addresses only personal jurisdiction, we
    do not consider Defendants’ other arguments that (1) Plaintiffs
    consented to the collection of their data when they visited the
    respective websites; and (2) that Plaintiffs’ allegations fail to
    state a claim under WESCA and the common law.



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    Hasson v. FullStory, Inc., No. 23-2535 &
    Schnur v. Papa John’s International, Inc., No. 23-2573

    PHIPPS, Circuit Judge, concurring in part and dissenting in
    part.

       I write separately with an observation about the Calder test
    and with an articulation of my dissenting position that
    Pennsylvania has specific personal jurisdiction over Papa
    Johns under the traditional test for the claims brought by
    Jordan Schnur.

       1. Calder Sometimes Comes Up Short.
        I agree with the Majority Opinion that the Calder test for
    intentional torts is not met here. See Calder v. Jones, 465 U.S.
    783 (1984). That test requires that the defendant aim the
    intentionally tortious conduct at the forum and that the brunt of
    the harm be experienced in that forum, see id. at 789, and here,
    neither Schnur nor Hasson sufficiently alleges that either Papa
    Johns or FullStory aimed their conduct at Pennsylvania. But
    there are limits to Calder: its test was developed in the context
    of a defamation claim in which allegedly false information
    from outside of the forum was transmitted into the forum. See
    id. at 785, 789–90. Unlike Calder, the claims in these cases
    are brought under Pennsylvania’s tort of intrusion upon
    seclusion and its wiretapping statute, 18 Pa. Cons. Stat. § 5725,
    and they concern the capture or extraction of information from
    the forum. Sometimes, the capture or extraction of data from
    the forum will also involve action aimed at the forum, and
    intentional-tort claims in those instances may satisfy the
    Calder test. See, e.g., MacDermid, Inc. v. Deiter, 702 F.3d
    725, 730 (2d Cir. 2012) (holding that personal jurisdiction was
    proper in Connecticut after the defendant used her computer in
    Canada to access servers she knew to be in Connecticut to
    email herself files); CollegeSource, Inc. v. AcademyOne, Inc.,
    653 F.3d 1066, 1078–79 (9th Cir. 2011) (subjecting the
    defendant to personal jurisdiction in California for




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    misappropriating information from the website of a competitor
    it knew to be based in California). But other methods of
    capturing or extracting information from the forum, such as
    phishing, cloned websites, and spyware, may not necessarily
    be aimed at the forum, and if they are not, then they will not
    satisfy the Calder test. Although those types of capturing or
    extracting information may be equally as malicious and
    injurious to persons in the forum, a tortfeasor’s indifference to
    the location of the victim would prevent the exercise of
    personal jurisdiction under the Calder test. So as not to reward
    or incentivize such indifference by intentional tortfeasors and
    to allow states the opportunity to adequately protect their
    residents, courts, in developing personal-jurisdiction
    jurisprudence in a “common-law fashion,” J. McIntyre Mach.,
    Ltd. v. Nicastro, 564 U.S. 873, 885 (2011) (plurality opinion),
    could recognize a conjugate to the Calder test that balances the
    interstate federalism principles underlying personal
    jurisdiction, see World-Wide Volkswagen Corp. v. Woodson,
    444 U.S. 286, 293–94 (1980), with the due process
    considerations of “traditional notions of fair play and
    substantial justice,” Int’l Shoe Co. v. Washington, 326 U.S.
    310, 316 (1945) (internal quotation omitted). Specifically, to
    hold accountable out-of-forum data pirates who seek to capture
    or extract data without regard to the location of its source, the
    companion doctrine would allow specific personal jurisdiction
    over intentional tort claims in which the brunt of the harm is
    experienced in the forum if data is captured or extracted from
    the forum – instead of requiring proof of aiming at the
    forum. While such a rule would likely result in Pennsylvania’s
    permissible exercise of personal jurisdiction over Papa Johns
    and FullStory in this case, neither Schnur nor Hasson has
    advocated for recognition of a companion doctrine to Calder.

       2. Schnur’s Claims Against Papa Johns Satisfy
          the Traditional Test.
        My lone disagreement with the Majority Opinion is with
    respect to its holding that Schnur’s claims do not satisfy the
    traditional test for specific personal jurisdiction. Even so, I

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    take no issue with the Majority Opinion’s conclusion on the
    first prong of the traditional test, viz., that Papa Johns has
    formed contacts with and “‘purposefully availed’ itself of
    engaging in activity in” Pennsylvania through its website and
    the 85 physical storefronts that it uses to fulfill orders from that
    website. Toys “R” Us, Inc. v. Step Two, S.A., 318 F.3d 446,
    451–52 (3d Cir. 2003); see also Burger King Corp. v.
    Rudzewicz, 471 U.S. 462, 475 (1985). But as to the second
    prong of the traditional test, see Bristol-Myers Squibb Co. v.
    Sup. Ct. of Cal., 582 U.S. 255, 262 (2017), I disagree with the
    conclusion that Schnur’s claims do not relate to those contacts
    that Papa Johns had with Pennsylvania.
         Rather, for those claims, there is a “strong ‘relationship
    among the defendant, the forum, and the litigation.’” Ford
    Motor Co. v. Mont. Eighth Jud. Dist. Ct., 592 U.S. 351, 366
    (2021) (quoting Helicopteros Nacionales de Colom., S.A. v.
    Hall, 466 U.S. 408, 414 (1984)). As to the defendant, Papa
    Johns, it offers online ordering in Pennsylvania, uses a session
    replay code to record those orders, and sells pizzas ordered
    online from its restaurants located in Pennsylvania. The forum,
    Pennsylvania, is where Schnur used his browser to access Papa
    Johns’ website, which through the session replay code,
    recorded his ordering behavior. It is also where the fulfillment
    of the online order would take place by one of Papa Johns’
    stores. The litigation complains of and seeks redress for the
    use of the session replay code to record Schnur’s online
    behavior while using his browser in Pennsylvania to access
    Papa Johns’ website to consider placing an order from one of
    Papa Johns’ stores in Pennsylvania. See Popa v. Harriet
    Carter Gifts, Inc., 52 F.4th 121, 131 (3d Cir. 2022) (explaining
    that a wiretap occurs where the browser reroutes the
    communication). As I see it, the strong relationship is clear:
    the common thread between the defendant, the forum, and the
    litigation is Papa Johns’ use of a session replay code on its
    website to record online consumer activity from a browser in
    Pennsylvania that was used to place orders from Papa Johns’
    locations in Pennsylvania.


                                     3
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         In reaching a different conclusion, the Majority Opinion
    argues through analogy that this case differs from Ford Motor.
    It likens Papa Johns’ website to the vehicles at issue in Ford
    Motor and the session replay code to defective parts. From
    there, it reasons that because Papa Johns has not advertised its
    website in Pennsylvania to the same extent that Ford advertised
    its vehicles in the forum states, there must be a lack of the
    requisite strong relationship among Papa Johns, Pennsylvania,
    and Schnur’s claims. Embedded in that reasoning is the
    assumption that the strong relationship required by Ford Motor
    can be demonstrated only by facts closely akin to those in Ford
    Motor – a suit against an out-of-state manufacturer that
    advertises a product in the forum and has physical locations in
    the forum to service and supply the parts for the product, see
    Ford Motor, 592 U.S. at 365–66. But by articulating the strong
    relationship test in general terms, the Supreme Court did not
    limit it to any particular factual scenario. So, even if Papa
    Johns’ contacts with Pennsylvania are not factually analogous
    to those that Ford had with the forum states in that case, it could
    still be that the strength of Papa Johns’ other contacts with
    Pennsylvania coupled with the different claims brought by
    Schnur are enough to satisfy the traditional test.

        And as recounted above, the relationship here, while not
    factually analogous to the one in Ford Motor, is stronger than
    the relationship in that case. There, Ford did not introduce the
    defective vehicles into the forum states, and the claims related
    to actions that Ford took outside of the forum states – the sale,
    design, and manufacture of the vehicles. See id. at 354. By
    contrast, Papa Johns chose to use its website to make sales in
    Pennsylvania, used the session replay code in Pennsylvania,
    and Schnur’s claims are based on Papa Johns’ recording his
    website behavior on his browser in Pennsylvania, see Popa,
    52 F.4th at 131. With a much tighter nexus among the
    defendant, the forum, and the litigation, there is no need here,
    as there was in Ford Motor, for additional contacts with the
    forum, such as through advertising of the website or product



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    support of the website, to sustain the requisite strong
    relationship.

        For these reasons, I believe that the traditional test for
    establishing specific personal jurisdiction is met with respect
    to Schnur’s claims against Papa Johns, and I respectfully
    dissent in part.




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